 Case 3:18-cv-00640-JAG-RCY Document 3 Filed 11/14/18 Page 1 of 2 PageID# 32




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Richmond Division
                                                                                         NOV 1 4 2013      ii.J
HERBERT ALEXANDER,
                                                                                    CLERK, U.S. DiSTRiCT COURT
                                                                                          RICHMOND. VA
       Petitioner,

V.                                                                  Civil Action No.3:18CV640

DJ. HANSEN,

       Respondent.

                                 MEMORANDUM OPINION

       Petitioner, a Virginia inmate proceeding pro se, submitted a PETITION FOR A WRIT

OF INNOCENCE BASED ON NONBIOLOGICAL EVIDENCE to this Court. (ECF No. 1.)

The petition is clearly a standardized form from the Court of Appeals of Virginia, and Petitioner

fails to identify a procedural vehicle that would permit him to pursue this action in this Court.

Nevertheless, given the content of petition, the Court determined that it was appropriate to give

Petitioner the opportunity to pursue this action as a petition for a writ of habeas corpus under 28

U.S.C, § 2254. See Rivenbarkv. Virginia^ 305 F. App'x 144, 145 (4th Cir. 2008). Accordingly,

by Memorandum Order entered on October 2, 2018, the Court directed Petitioner to complete

and return the forms for filing a 28 U.S.C. § 2254 petition within twenty (20) days of the date of

entry thereof. The Court also indicated that, in the alternative. Petitioner could move to

withdraw the action. The Court warned that if Petitioner failed to take any action within that

time, the Court would dismiss the action without prejudice.

       More than twenty (20) days have expired since the entry of the October 2, 2018

Memorandum Order and Petitioner has failed to respond. Accordingly, the action will be

DISMISSED WITHOUT PREJUDICE. To the extent necessary, a certificate of appealability

will be DENIED.
Case 3:18-cv-00640-JAG-RCY Document 3 Filed 11/14/18 Page 2 of 2 PageID# 33
